






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00304-CR


NO. 03-09-00305-CR


NO. 03-09-00306-CR







Hubert Theodore Branch, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT


NO. 62025, HONORABLE JOE CARROLL, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Hubert Theodore Branch is awaiting trial for possession of a controlled substance
with intent to deliver.  He has filed a pro se "appeal on motion to dismiss counsel," a pro se "appeal
on motion to suppress," and a pro se "appeal on motion for release on bond."

In the "appeal on motion to dismiss counsel," Branch asks the Court to "remove" both
Robert O. Harris, the attorney first appointed to represent him, and Jeffrey Parker, the attorney
appointed after Branch filed a grievance against Harris.  It is unclear whether Branch wants another
appointed attorney or wants to represent himself.  This Court is not authorized to appoint trial
counsel.   If Branch wants a new attorney, he must direct his request to the trial court.  If Branch
wants to represent himself, he must waive his right to counsel in the manner prescribed by statute. 
See Tex. Code Crim. Proc. Ann. art. 1.051(g) (West Supp. 2008).

In the "appeal on motion to suppress," Branch complains that the trial court has failed
to rule on his motion to suppress evidence.  The trial court's failure to act on a pending motion is not
the proper subject for an interlocutory appeal.  

In the "appeal on motion for release on bond," Branch asserts that his bail is excessive
and that he is entitled to release pursuant to article 17.151.  Tex. Code Crim. Proc. Ann. art. 17.151
(West Supp. 2008).  This Court is not authorized to entertain motions to reduce pretrial bail.  If
Branch's bail is excessive or if his confinement is otherwise unlawful, his remedy is by writ of
habeas corpus in the district court.

The appeals are dismissed.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Dismissed for Want of Jurisdiction

Filed:   June 19, 2009

Do Not Publish

				


